                                                                                      5HY


                           /2&$/%$1.5837&<)250

                    ,17+(81,7('67$7(6%$1.5837&<&2857
                  )257+(0,''/(',675,&72)3(116</9$1,$

 ,15(                                             &+$37(5

 Louis A. Santo, Jr.                                  &$6(121CL
                                                                        22 01912
 Joy M. Santo
                                                     ✔
                                                     BBB25,*,1$/3/$1
                                                     BBB$0(1'('3/$1 ,QGLFDWHVWQGUGHWF 

                                                      0
                                                     BBB1XPEHURI0RWLRQVWR$YRLG/LHQV
                                                     BBB1XPEHURI0RWLRQVWR9DOXH&ROODWHUDO
                                                      0


                                     &+$37(53/$1

                                            127,&(6
'HEWRUVPXVWFKHFNRQHER[RQHDFKOLQHWRVWDWHZKHWKHURUQRWWKHSODQLQFOXGHVHDFKRIWKH
IROORZLQJLWHPV,IDQLWHPLVFKHFNHGDV³1RW,QFOXGHG´RULIERWKER[HVDUHFKHFNHGRULI
QHLWKHUER[LVFKHFNHGWKHSURYLVLRQZLOOEHLQHIIHFWLYHLIVHWRXWODWHULQWKHSODQ

  7KHSODQFRQWDLQVQRQVWDQGDUGSURYLVLRQVVHWRXWLQ       ✔ ,QFOXGHG           1RW
    ZKLFKDUHQRWLQFOXGHGLQWKHVWDQGDUGSODQDVDSSURYHGE\WKH                        ,QFOXGHG
    86%DQNUXSWF\&RXUWIRUWKH0LGGOH'LVWULFWRI
    3HQQV\OYDQLD
  7KHSODQFRQWDLQVDOLPLWRQWKHDPRXQWRIDVHFXUHGFODLPVHW   ,QFOXGHG      ✔    1RW
    RXWLQ(ZKLFKPD\UHVXOWLQDSDUWLDOSD\PHQWRUQR                             ,QFOXGHG
    SD\PHQWDWDOOWRWKHVHFXUHGFUHGLWRU
  7KHSODQDYRLGVDMXGLFLDOOLHQRUQRQSRVVHVVRU\QRQSXUFKDVH     ,QFOXGHG       ✔ 1RW
    PRQH\VHFXULW\LQWHUHVWVHWRXWLQ*                                            ,QFOXGHG

                            <2855,*+76:,//%($))(&7('
5($'7+,63/$1&$5()8//<,I\RXRSSRVHDQ\SURYLVLRQRIWKLVSODQ\RXPXVWILOHD
WLPHO\ZULWWHQREMHFWLRQ7KLVSODQPD\EHFRQILUPHGDQGEHFRPHELQGLQJRQ\RXZLWKRXWIXUWKHU
QRWLFHRUKHDULQJXQOHVVDZULWWHQREMHFWLRQLVILOHGEHIRUHWKHGHDGOLQHVWDWHGRQWKH1RWLFH
LVVXHGLQFRQQHFWLRQZLWKWKHILOLQJRIWKHSODQ




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 3/$1)81',1*$1'/(1*7+2)3/$1

   $ 3ODQ3D\PHQWV)URP)XWXUH,QFRPH

                                           0.00
              7RGDWHWKH'HEWRUSDLGBBBBBBBBBBBB     HQWHULIQRSD\PHQWVKDYHEHHQ
                PDGHWRWKH7UXVWHHWRGDWH 'HEWRUVKDOOSD\WRWKH7UXVWHHIRUWKHUHPDLQLQJ
                WHUPRIWKHSODQWKHIROORZLQJSD\PHQWV,IDSSOLFDEOHLQDGGLWLRQWRPRQWKO\
                SODQSD\PHQWV'HEWRUVKDOOPDNHFRQGXLWSD\PHQWVWKURXJKWKH7UXVWHHDVVHW
                                                     12,000.00
                IRUWKEHORZ7KHWRWDOEDVHSODQLVBBBBBBBBBBBBBBBSOXVRWKHUSD\PHQWVDQG
                SURSHUW\VWDWHGLQ%EHORZ

    6WDUW           (QG             3ODQ           (VWLPDWHG      7RWDO           7RWDO
   PP\\\\         PP\\\\        3D\PHQW           &RQGXLW      0RQWKO\        3D\PHQW
                                                      3D\PHQW       3D\PHQW        2YHU3ODQ
                                                                                       7LHU
   11/2022          10/2027          $200.00              0           $200.00       $12,000.00




                                                                          7RWDO    $12,000.00
                                                                      3D\PHQWV

              ,IWKHSODQSURYLGHVIRUFRQGXLWPRUWJDJHSD\PHQWVDQGWKHPRUWJDJHHQRWLILHV
                WKH7UXVWHHWKDWDGLIIHUHQWSD\PHQWLVGXHWKH7UXVWHHVKDOOQRWLI\WKH'HEWRU
                DQGDQ\DWWRUQH\IRUWKH'HEWRULQZULWLQJWRDGMXVWWKHFRQGXLWSD\PHQWVDQG
                WKHSODQIXQGLQJ'HEWRUPXVWSD\DOOSRVWSHWLWLRQPRUWJDJHSD\PHQWVWKDW
                FRPHGXHEHIRUHWKHLQLWLDWLRQRIFRQGXLWPRUWJDJHSD\PHQWV

              'HEWRUVKDOOHQVXUHWKDWDQ\ZDJHDWWDFKPHQWVDUHDGMXVWHGZKHQQHFHVVDU\WR
                FRQIRUPWRWKHWHUPVRIWKHSODQ

              &+(&.21( ✔ 'HEWRULVDWRUXQGHUPHGLDQLQFRPH,IWKLVOLQHLV
                FKHFNHGWKHUHVWRI$QHHGQRWEHFRPSOHWHGRUUHSURGXFHG

                                   'HEWRULVRYHUPHGLDQLQFRPH'HEWRUHVWLPDWHVWKDWD
                                 PLQLPXPRIBBBBBBBBBBBBBBBPXVWEHSDLGWRDOORZHG
                                 XQVHFXUHGFUHGLWRUVLQRUGHUWRFRPSO\ZLWKWKH0HDQV7HVW




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   % $GGLWLRQDO3ODQ)XQGLQJ)URP/LTXLGDWLRQRI$VVHWV2WKHU

                  7KH'HEWRUHVWLPDWHVWKDWWKHOLTXLGDWLRQYDOXHRIWKLVHVWDWHLV
                      1,250,000.00
                    BBBBBBBBBBBB   /LTXLGDWLRQYDOXHLVFDOFXODWHGDVWKHYDOXHRIDOOQRQ
                    H[HPSWDVVHWVDIWHUWKHGHGXFWLRQRIYDOLGOLHQVDQGHQFXPEUDQFHVDQG
                    EHIRUHWKHGHGXFWLRQRI7UXVWHHIHHVDQGSULRULW\FODLPV 

      Check one of the following two lines.

      BBB      1RDVVHWVZLOOEHOLTXLGDWHGIf this line is checked, VNLS%DQGFRPSOHWH%
               LIDSSOLFDEOH

       ✔
      BBB     &HUWDLQDVVHWVZLOOEHOLTXLGDWHGDVIROORZV

                  ,QDGGLWLRQWRWKHDERYHVSHFLILHGSODQSD\PHQWV'HEWRUVKDOOGHGLFDWHWR
                    WKHSODQSURFHHGVLQWKHHVWLPDWHGDPRXQWRIBBBBBBBBBBBBB1,250,000.00                 IURPWKHVDOH
                    RISURSHUW\NQRZQDQGGHVLJQDWHGDV BBBBBBBBBBBBBBBBBBB
                                                            property located at 312 Meadow trail,Dillsburg,PA


                    BBBBBBBBBBBBBBBBBBBBBBBBBBBB $OOVDOHVVKDOOEHFRPSOHWHGE\
                    BBBBBBBBBBBBBBBBBBB
                     October                  BBB
                                                  23 ,IWKHSURSHUW\GRHVQRWVHOOE\WKHGDWH
                    VSHFLILHGWKHQWKHGLVSRVLWLRQRIWKHSURSHUW\VKDOOEHDVIROORZV
                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                  2WKHUSD\PHQWVIURPDQ\VRXUFH V  GHVFULEHVSHFLILFDOO\ VKDOOEHSDLGWR
                    WKH7UXVWHHDVIROORZV




 6(&85('&/$,06

   $ 3UH&RQILUPDWLRQ'LVWULEXWLRQVCheck one.

    ✔
   BBB     1RQHIf “None” is checked, the rest of § 2.A need not be completed or reproduced.

   BBB   $GHTXDWHSURWHFWLRQDQGFRQGXLWSD\PHQWVLQWKHIROORZLQJDPRXQWVZLOOEHSDLGE\
          WKH'HEWRUWRWKH7UXVWHH7KH7UXVWHHZLOOGLVEXUVHWKHVHSD\PHQWVIRUZKLFKDSURRI
          RIFODLPKDVEHHQILOHGDVVRRQDVSUDFWLFDEOHDIWHUUHFHLSWRIVDLGSD\PHQWVIURPWKH
          'HEWRU




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                  1DPHRI&UHGLWRU                           /DVW)RXU'LJLWV       (VWLPDWHG
                                                                RI$FFRXQW           0RQWKO\
                                                                  1XPEHU             3D\PHQW




       7KH7UXVWHHZLOOQRWPDNHDSDUWLDOSD\PHQW,IWKH'HEWRUPDNHVDSDUWLDOSODQ
         SD\PHQWRULILWLVQRWSDLGRQWLPHDQGWKH7UXVWHHLVXQDEOHWRSD\WLPHO\DSD\PHQW
         GXHRQDFODLPLQWKLVVHFWLRQWKH'HEWRU¶VFXUHRIWKLVGHIDXOWPXVWLQFOXGHDQ\
         DSSOLFDEOHODWHFKDUJHV

       ,IDPRUWJDJHHILOHVDQRWLFHSXUVXDQWWR)HG5%DQNU3 E WKHFKDQJHLQ
         WKHFRQGXLWSD\PHQWWRWKH7UXVWHHZLOOQRWUHTXLUHPRGLILFDWLRQRIWKLVSODQ

   % 0RUWJDJHV ,QFOXGLQJ&ODLPV6HFXUHGE\'HEWRU¶V3ULQFLSDO5HVLGHQFH DQG2WKHU
      'LUHFW3D\PHQWVE\'HEWRUCheck one.

   ✔
   BBB    1RQHIf “None” is checked, the rest of § 2.B need not be completed or reproduced.

   BBB   3D\PHQWVZLOOEHPDGHE\WKH'HEWRUGLUHFWO\WRWKHFUHGLWRUDFFRUGLQJWRWKHRULJLQDO
          FRQWUDFWWHUPVDQGZLWKRXWPRGLILFDWLRQRIWKRVHWHUPVXQOHVVRWKHUZLVHDJUHHGWRE\
          WKHFRQWUDFWLQJSDUWLHV$OOOLHQVVXUYLYHWKHSODQLIQRWDYRLGHGRUSDLGLQIXOOXQGHU
          WKHSODQ

    1DPHRI&UHGLWRU                    'HVFULSWLRQRI&ROODWHUDO               /DVW)RXU'LJLWV
                                                                                    RI$FFRXQW
                                                                                      1XPEHU




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     & $UUHDUV ,QFOXGLQJEXWQRWOLPLWHGWRFODLPVVHFXUHGE\'HEWRU¶VSULQFLSDO
        UHVLGHQFH Check one.

      ✔
     BBB    1RQHIf “None” is checked, the rest of § 2.C need not be completed or reproduced.

     BBB    7KH7UXVWHHVKDOOGLVWULEXWHWRHDFKFUHGLWRUVHWIRUWKEHORZWKHDPRXQWRIDUUHDUDJHV
            LQWKHDOORZHGFODLP,ISRVWSHWLWLRQDUUHDUVDUHQRWLWHPL]HGLQDQDOORZHGFODLP
            WKH\VKDOOEHSDLGLQWKHDPRXQWVWDWHGEHORZ8QOHVVRWKHUZLVHRUGHUHGLIUHOLHI
            IURPWKHDXWRPDWLFVWD\LVJUDQWHGDVWRDQ\FROODWHUDOOLVWHGLQWKLVVHFWLRQDOO
            SD\PHQWVWRWKHFUHGLWRUDVWRWKDWFROODWHUDOVKDOOFHDVHDQGWKHFODLPZLOOQR
            ORQJHUEHSURYLGHGIRUXQGHU E  RIWKH%DQNUXSWF\&RGH

   1DPHRI&UHGLWRU             'HVFULSWLRQRI         (VWLPDWHG (VWLPDWHG      (VWLPDWHG
                                  &ROODWHUDO           3UHSHWLWLRQ 3RVWSHWLWLRQ 7RWDO WR EH
                                                         $UUHDUVWR $UUHDUVWR SDLGLQSODQ
                                                         EH&XUHG     EH&XUHG

US Bank                    312 Meadow Trail,           unknown, no                    unknown, no
                           Dillsburg, PA 17019         proof of claim                 proof of claim
                                                       has been filed.                has been filed.




     ' 2WKHUVHFXUHGFODLPV FRQGXLWSD\PHQWVDQGFODLPVIRUZKLFKDYDOXDWLRQLV
        QRWDSSOLFDEOHHWF

      ✔
     BBB    1RQHIf “None” is checked, the rest of § 2.D need not be completed or reproduced.

     BBB   7KHFODLPVEHORZDUHVHFXUHGFODLPVIRUZKLFKDYDOXDWLRQLVQRWDSSOLFDEOH
            DQGFDQLQFOXGH  FODLPVWKDWZHUHHLWKHU D LQFXUUHGZLWKLQGD\VRIWKH
            SHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDPRWRUYHKLFOH
            DFTXLUHGIRUWKHSHUVRQDOXVHRIWKH'HEWRURU E LQFXUUHGZLWKLQ\HDURIWKH
            SHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDQ\RWKHUWKLQJRI
            YDOXH  FRQGXLWSD\PHQWVRU  VHFXUHGFODLPVQRWSURYLGHGIRUHOVHZKHUH




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           7KHDOORZHGVHFXUHGFODLPVOLVWHGEHORZVKDOOEHSDLGLQIXOODQGWKHLUOLHQV
             UHWDLQHGXQWLOWKHHDUOLHURIWKHSD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHU
             QRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHURIWKH&RGH

           ,QDGGLWLRQWRSD\PHQWRIWKHDOORZHGVHFXUHGFODLPSUHVHQWYDOXHLQWHUHVW
             SXUVXDQWWR86& D  % LL ZLOOEHSDLGDWWKHUDWHDQGLQWKHDPRXQW
             OLVWHGEHORZXQOHVVDQREMHFWLRQLVUDLVHG,IDQREMHFWLRQLVUDLVHGWKHQWKHFRXUW
             ZLOOGHWHUPLQHWKHSUHVHQWYDOXHLQWHUHVWUDWHDQGDPRXQWDWWKHFRQILUPDWLRQ
             KHDULQJ

           8QOHVVRWKHUZLVHRUGHUHGLIWKHFODLPDQWQRWLILHVWKH7UXVWHHWKDWWKHFODLPZDV
             SDLGSD\PHQWVRQWKHFODLPVKDOOFHDVH

  1DPHRI&UHGLWRU         'HVFULSWLRQRI&ROODWHUDO      3ULQFLSDO      ,QWHUHVW 7RWDOWREH
                                                            %DODQFHRI       5DWH   3DLGLQ3ODQ
                                                              &ODLP




   ( 6HFXUHGFODLPVIRUZKLFKDYDOXDWLRQLVDSSOLFDEOH&KHFNRQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI(QHHGQRWEHFRPSOHWHGRUUHSURGXFHG
   BBB&ODLPVOLVWHGLQWKHVXEVHFWLRQDUHGHEWVVHFXUHGE\SURSHUW\QRWGHVFULEHGLQ'RI
            WKLVSODQ7KHVHFODLPVZLOOEHSDLGLQWKHSODQDFFRUGLQJWRPRGLILHGWHUPVDQGOLHQV
            UHWDLQHGXQWLOWKHHDUOLHURIWKHSD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHU
            QRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHURIWKH&RGH7KHH[FHVVRIWKH
            FUHGLWRU¶VFODLPZLOOEHWUHDWHGDVDQXQVHFXUHGFODLP$Q\FODLPOLVWHGDV³´RU
            ³129$/8(´LQWKH³0RGLILHG3ULQFLSDO%DODQFH´FROXPQEHORZZLOOEHWUHDWHGDV
            DQXQVHFXUHGFODLP7KHOLHQVZLOOEHDYRLGHGRUOLPLWHGWKURXJKWKHSODQRU'HEWRU
            ZLOOILOHDQDGYHUVDU\RURWKHUDFWLRQ VHOHFWPHWKRGLQODVWFROXPQ 7RWKHH[WHQWQRW
            DOUHDG\GHWHUPLQHGWKHDPRXQWH[WHQWRUYDOLGLW\RIWKHDOORZHGVHFXUHGFODLPIRU
            HDFKFODLPOLVWHGEHORZZLOOEHGHWHUPLQHGE\WKHFRXUWDWWKHFRQILUPDWLRQKHDULQJ
            8QOHVVRWKHUZLVHRUGHUHGLIWKHFODLPDQWQRWLILHVWKH7UXVWHHWKDWWKHFODLPZDVSDLG
            SD\PHQWVRQWKHFODLPVKDOOFHDVH




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                                                                                    5HY


 1DPHRI&UHGLWRU         'HVFULSWLRQRI       9DOXHRI ,QWHUHVW 7RWDO             3ODQ
                            &ROODWHUDO         &ROODWHUDO  5DWH 3D\PHQW          $GYHUVDU\
                                                 0RGLILHG                            RU2WKHU
                                                3ULQFLSDO                            $FWLRQ




   ) 6XUUHQGHURI&ROODWHUDO&KHFNRQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI)QHHGQRWEHFRPSOHWHGRUUHSURGXFHG

   BBB 7KH'HEWRUHOHFWVWRVXUUHQGHUWRHDFKFUHGLWRUOLVWHGEHORZWKHFROODWHUDOWKDWVHFXUHV
         WKHFUHGLWRU¶VFODLP7KH'HEWRUUHTXHVWVWKDWXSRQFRQILUPDWLRQRIWKLVSODQRUXSRQ
         DSSURYDORIDQ\PRGLILHGSODQWKHVWD\XQGHU86& D EHWHUPLQDWHGDVWR
         WKHFROODWHUDORQO\DQGWKDWWKHVWD\XQGHUEHWHUPLQDWHGLQDOOUHVSHFWV$Q\
         DOORZHGXQVHFXUHGFODLPUHVXOWLQJIURPWKHGLVSRVLWLRQRIWKHFROODWHUDOZLOOEHWUHDWHG
         LQ3DUWEHORZ

       1DPHRI&UHGLWRU                     'HVFULSWLRQRI&ROODWHUDOWREH6XUUHQGHUHG




   * /LHQ$YRLGDQFH'RQRWXVHIRUPRUWJDJHVRUIRUVWDWXWRU\OLHQVVXFKDVWD[OLHQV&KHFN
      RQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI*QHHGQRWEHFRPSOHWHGRUUHSURGXFHG




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     BBB 7KH'HEWRUPRYHVWRDYRLGWKHIROORZLQJMXGLFLDODQGRUQRQSRVVHVVRU\QRQSXUFKDVH
           PRQH\OLHQVRIWKHIROORZLQJFUHGLWRUVSXUVXDQWWR I  WKLVVKRXOGQRWEHXVHG
           IRUVWDWXWRU\RUFRQVHQVXDOOLHQVVXFKDVPRUWJDJHV 

 1DPHRI/LHQ+ROGHU


 /LHQ'HVFULSWLRQ
 )RUMXGLFLDOOLHQLQFOXGHFRXUW
 DQGGRFNHWQXPEHU
 'HVFULSWLRQRIWKH
 OLHQHGSURSHUW\
 /LHQHG$VVHW9DOXH
 6XPRI6HQLRU/LHQV
 ([HPSWLRQ&ODLPHG
 $PRXQWRI/LHQ
 $PRXQW$YRLGHG


 35,25,7<&/$,06

    $ $GPLQLVWUDWLYH&ODLPV

           7UXVWHH¶V)HHV3HUFHQWDJHIHHVSD\DEOHWRWKH7UXVWHHZLOOEHSDLGDWWKHUDWHIL[HG
             E\WKH8QLWHG6WDWHV7UXVWHH

           $WWRUQH\¶VIHHV&RPSOHWHRQO\RQHRIWKHIROORZLQJRSWLRQV

                 D ,QDGGLWLRQWRWKHUHWDLQHURIBBBBBBBBBBBBBDOUHDG\SDLGE\WKH'HEWRUWKH
                    DPRXQWRIBBBBBBBBBBBBBLQWKHSODQ7KLVUHSUHVHQWVWKHXQSDLGEDODQFHRIWKH
                    SUHVXPSWLYHO\UHDVRQDEOHIHHVSHFLILHGLQ/%5 F RU

                 E BBBBBBBBBBBBBSHUKRXUZLWKWKHKRXUO\UDWHWREHDGMXVWHGLQDFFRUGDQFHZLWK
                      395.00
                    WKHWHUPVRIWKHZULWWHQIHHDJUHHPHQWEHWZHHQWKH'HEWRUDQGWKHDWWRUQH\
                    3D\PHQWRIVXFKORGHVWDUFRPSHQVDWLRQVKDOOUHTXLUHDVHSDUDWHIHHDSSOLFDWLRQ
                    ZLWKWKHFRPSHQVDWLRQDSSURYHGE\WKH&RXUWSXUVXDQWWR/%5 E 

           2WKHU2WKHUDGPLQLVWUDWLYHFODLPVQRWLQFOXGHGLQ$RU$DERYH&KHFN
                     RQHRIWKHIROORZLQJWZROLQHV

                  ✔
                 BBB       1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI$QHHGQRWEHFRPSOHWHGRU
                             UHSURGXFHG

                 BBB        7KHIROORZLQJDGPLQLVWUDWLYHFODLPVZLOOEHSDLGLQIXOO

                                                           


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              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




   % 3ULRULW\&ODLPV LQFOXGLQJFHUWDLQ'RPHVWLF6XSSRUW2EOLJDWLRQV

      $OORZHGXQVHFXUHGFODLPVHQWLWOHGWRSULRULW\XQGHU D ZLOOEHSDLGLQIXOO
      XQOHVVPRGLILHGXQGHU


              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




   & 'RPHVWLF6XSSRUW2EOLJDWLRQVDVVLJQHGWRRURZHGWRDJRYHUQPHQWDOXQLWXQGHU
      86& D  % &KHFNRQHRIWKHIROORZLQJWZROLQHV.

       ✔
      BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI&QHHGQRWEHFRPSOHWHGRU
              UHSURGXFHG

      BBB    7KHDOORZHGSULRULW\FODLPVOLVWHGEHORZDUHEDVHGRQDGRPHVWLFVXSSRUW
              REOLJDWLRQWKDWKDVEHHQDVVLJQHGWRRULVRZHGWRDJRYHUQPHQWDOXQLWDQGZLOOEH
              SDLGOHVVWKDQWKHIXOODPRXQWRIWKHFODLP7KLVSODQSURYLVLRQUHTXLUHVWKDW
              SD\PHQWVLQ$EHIRUDWHUPRIPRQWKV VHH86& D  

              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




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 816(&85('&/$,06

   $ &ODLPVRI8QVHFXUHG1RQSULRULW\&UHGLWRUV6SHFLDOO\&ODVVLILHGCheck one of the
      following two lines.

       ✔
       BBB      1RQHIf “None” is checked, the rest of § 4.A need not be completed or
                reproduced.

       ___      7RWKHH[WHQWWKDWIXQGVDUHDYDLODEOHWKHDOORZHGDPRXQWRIWKHIROORZLQJ
                XQVHFXUHGFODLPVVXFKDVFRVLJQHGXQVHFXUHGGHEWVZLOOEHSDLGEHIRUHRWKHU
                XQFODVVLILHGXQVHFXUHGFODLPV7KHFODLPVKDOOEHSDLGLQWHUHVWDWWKHUDWHVWDWHG
                EHORZ,IQRUDWHLVVWDWHGWKHLQWHUHVWUDWHVHWIRUWKLQWKHSURRIRIFODLPVKDOO
                DSSO\

  1DPHRI&UHGLWRU              5HDVRQIRU6SHFLDO          (VWLPDWHG     ,QWHUHVW     (VWLPDWHG
                                   &ODVVLILFDWLRQ            $PRXQWRI       5DWH         7RWDO
                                                               &ODLP                      3D\PHQW




   % 5HPDLQLQJDOORZHGXQVHFXUHGFODLPVZLOOUHFHLYHDSURUDWDGLVWULEXWLRQRIIXQGV
      UHPDLQLQJDIWHUSD\PHQWRIRWKHUFODVVHV

 (;(&8725<&2175$&76$1'81(;3,5('/($6(6Check one of the following
   two lines.

   ✔
   BBB      1RQHIf “None” is checked, the rest of § 5 need not be completed or reproduced.

   ___   7KHIROORZLQJFRQWUDFWVDQGOHDVHVDUHDVVXPHG DQGDUUHDUVLQWKHDOORZHGFODLPWR
          EHFXUHGLQWKHSODQ RUUHMHFWHG

1DPHRI2WKHU          'HVFULSWLRQRI    0RQWKO\ ,QWHUHVW (VWLPDWHG           7RWDO   $VVXPH
   3DUW\                &RQWUDFWRU      3D\PHQW    5DWH   $UUHDUV            3ODQ  RU5HMHFW
                            /HDVH                                              3D\PHQW




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 9(67,1*2)3523(57<2)7+((67$7(

    3URSHUW\RIWKHHVWDWHZLOOYHVWLQWKH'HEWRUXSRQ

    Check the applicable line:

    BBBSODQ FRQILUPDWLRQ
    BBBHQWU\RIGLVFKDUJH
     ✔ FORVLQJRIFDVH
    BBB


 ',6&+$5*( &KHFNRQH

     
      ✔  7KHGHEWRUZLOOVHHNDGLVFKDUJHSXUVXDQWWR D 
       7KHGHEWRULVQRWHOLJLEOHIRUDGLVFKDUJHEHFDXVHWKHGHEWRUKDVSUHYLRXVO\UHFHLYHGD
          GLVFKDUJHGHVFULEHGLQ I 

 25'(52)',675,%87,21

,IDSUHSHWLWLRQFUHGLWRUILOHVDVHFXUHGSULRULW\RUVSHFLDOO\FODVVLILHGFODLPDIWHUWKHEDUGDWH
WKH7UXVWHHZLOOWUHDWWKHFODLPDVDOORZHGVXEMHFWWRREMHFWLRQE\WKH'HEWRU




3D\PHQWVIURPWKHSODQZLOOEHPDGHE\WKH7UXVWHHLQWKHIROORZLQJRUGHU
/HYHOBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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,IWKHDERYH/HYHOVDUHILOOHGLQWKHUHVWRIQHHGQRWEHFRPSOHWHGRUUHSURGXFHG,IWKHDERYH
/HYHOVDUHQRWILOOHGLQWKHQWKHRUGHURIGLVWULEXWLRQRISODQSD\PHQWVZLOOEHGHWHUPLQHGE\WKH
7UXVWHHXVLQJWKHIROORZLQJDVDJXLGH

/HYHO$GHTXDWHSURWHFWLRQSD\PHQWV
/HYHO'HEWRU¶VDWWRUQH\¶VIHHV
/HYHO'RPHVWLF6XSSRUW2EOLJDWLRQV
/HYHO3ULRULW\FODLPVSURUDWD
/HYHO6HFXUHGFODLPVSURUDWD
/HYHO6SHFLDOO\FODVVLILHGXQVHFXUHGFODLPV
/HYHO7LPHO\ILOHGJHQHUDOXQVHFXUHGFODLPV
/HYHO8QWLPHO\ILOHGJHQHUDOXQVHFXUHGFODLPVWRZKLFKWKH'HEWRUKDVQRWREMHFWHG


 12167$1'$5'3/$13529,6,216

,QFOXGHWKHDGGLWLRQDOSURYLVLRQVEHORZRURQDQDWWDFKPHQW$Q\QRQVWDQGDUGSURYLVLRQ
SODFHGHOVHZKHUHLQWKHSODQLVYRLG 127(7KHSODQDQGDQ\DWWDFKPHQWPXVWEHILOHGDV
RQHGRFXPHQWQRWDVDSODQDQGH[KLELW 
 The Debtors own real property located at 312 Meadow Trail, Dillsburg, PA 17019. The Debtor currently have a
 listing contract with Century 21 Home Advisors with a listing price of $1,250,000.00. The Debtors are unaware
 of the mortgage balance as no proof of claim has been filed. The Debtors believe that this sale should take place
 within six months (6) and that the equity will cover the mortgage payments in the interim. In addition, the
 Debtors will make an interim monthly payment of $200.00 per month based, in part, upon disposable income to
 the Chapter 13 Trustee. These monthly payments, upon Confirmation, may be used to pay Administrative
 expenses, legal fees and any priority tax claims. Attorney’s Fees are being calculated on an hourly basis using
 the lodestar methodology. Trustee commission and approval for professional fees shall be sought by fee
 application and paid from funds devoted from the sale of real estate.


      12/1/2022
'DWHGBBBBBBBBBBBBBBB                          /s/ Lawrence V. Young, Esquire
                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                 $WWRUQH\IRU'HEWRU



                                                 /s/ Louis A. Santo Jr.
                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                 'HEWRU

                                                 Joy M. Santo
                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                 -RLQW'HEWRU


%\ILOLQJWKLVGRFXPHQWWKHGHEWRULIQRWUHSUHVHQWHGE\DQDWWRUQH\RUWKH$WWRUQH\IRU'HEWRU
DOVRFHUWLILHVWKDWWKLVSODQFRQWDLQVQRQRQVWDQGDUGSURYLVLRQVRWKHUWKDQWKRVHVHWRXWLQ



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